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|N THE UN|TED STATES D|STR|CT COURT m B%-- D-°-

 

 

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P|aintiff

VS.
CR. NO. 04-20501-D

ANTON|O STACKER

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERlOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 21 , 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a report date of Thursday, August 25l 2005l at 9:00 a.m., in Courtroom 3l 9th F|oor of
the Federa| Buiiding, Memphis, TN.

The period from August12, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

|T lS SO ORDERED this 515 day Of Ju|y, 2005.

§RN|CE%/ B. DONALD

UN|TED STATES DISTR|CT JUDGE

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UNITED sATE ISTRICT COURT - W"RTE DISTRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 43 in
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Honorable Berniee Donald
US DISTRICT COURT

